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EX PARTE MEMORANDUM PURSUANT TO FEDERAL
RULES OF CRIMINAL PROCEDURE, RULE 17(b)

Honorable Frank C. Damrell, Jr.
United States District Judge

RE:    United States v. Teresa Morales
       Case Number: 07-314 FCD
       Jury Trial Date: May 3, 2011

It is required that advance authority be requested under Rule 17(b), by ex parte application, for
subpoenas by indigent defendants.

It is necessary that witness Martin Carrillo, 1256 Liberty Street, San Luis, Arizona 85349
(tel. # 928-627-2024), be subpoenaed in this case for an adequate presentation of the defense.
Authority to subpoena this witness under Rule 17(b), Federal Rules of Criminal Procedure, is
hereby requested.

It is respectfully requested that you sign this Memorandum and return the original and copies to
this office to be filed with the clerk at the close of this case so that there is authorization for
payment of this witness. This application is submitted ex parte and shall not be served upon
representatives of the Government.

Dated: March 1, 2011                  /s/ Timothy E. Warriner, Attorney for
                                      Defendant, Teresa Morales


Authorization for issuance of the subpoena, service of said subpoena, and payment of the witness
by the U.S. Marshal is hereby granted. This document shall be returned to defendant’s counsel
without entry upon the records of the court or service upon opposing counsel or other
Government agencies.

Dated: March 3, 2011

                                               _______________________________________
                                               FRANK C. DAMRELL, JR.
                                               UNITED STATES DISTRICT JUDGE
